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UN[TED STATES DISTRICT COURT
F()R THE EASTERN DISTRICT ()F PENNSYLVANIA

Captioni F l L E D COMI)LA[NT

Anne Clyburn,
P'“`""“ 111 13 2“‘“ l)?§§l§l}‘£l`§~‘l‘§§“l
_ Nz, C\S'K
v. §§ W'C‘e Cl\/IL ACTIoN
NO.*
UFCW Local 1776 Federal Credit Union
and
UFCW ljocal 1776

Defendants

This action is brought for discrimination in employment pursuant to (check only those that
apply)r
X Title Vll of the Civil Rights Act of1964, as codified 42 U.S.C. §§ 2000e to
2000e-17 (race, color, gender, religion, national origin).
NOTE.° 111 order to bring suit int/ederal district court under Tit/e V][. you must
_ first obtain a Notice ofRig/?t to Sue Letter_/i'om the Equal Employment
()pportunityt" (,'omn"iission.

Age Discrimination in Employment Act ot`1967, as codilied, 29 U.S.C. §§ 621-634.
N()TE: 111 or de1 to bring suit in /edei al dis‘tr ict couit under the 1 ge

Dis‘cr 1`1111nation in Employment Act 1’011 11111\/ first file a cluu ge 11 ith the Equal
Employment ()ppor tunity C oinmis'sion and vou must have been at least ~l() 1eai s
old at the time 1 ou belie1 e that you 11 ere di."sc) iminated against

/\mericans with Disability Act ot`1990, as codified 42 U.S.C. §§ 12112-12117.
NOTE: 111 order to bring suit injederal district court under the Ainericans with
Disabilities Act, you 11111.s'tfirst obtain a Notic'e o/"Rig/it to Sue Lette)/'ji'om the
Equal Employinent ()pportunitV C`o111111ission.

X Pennsylvania lluman Relations Act, as codified 43 Pa. Cons Stat §§ 951 -963
(iace color family status religious creed ancestry handicap or disability age
sex, national origin the use of a 0uide or support animal because of blindness,
deafness or physical handicap of the user or because the user is a handler or
trainer ot support or guide animals).

(Rcv. |U/Z(l()*'))

t"l)`('ltl.v 9 wl 'n`

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NOTE: fn order lo bring suit inféo’eml rlisl)"z'cl‘ court under the Pe)msy/vonio Humcm
Re/alions Ac/, you rnz./.\'I_/l`rsl`/I`]e o complaint with the Penn.s;vlt-'cmio Hzmmn Re/olions
Commi.s'.s'ion or lhe l’hl`/odelphio C`ommi.s'sion on Hzml(m Relol‘l`ons, and then you
must one year prior /o_/i`/z`rzg o lawsuit

l. Parties in this complaint

A, List your name. address and telephone number. Do the same for any additional plaintiffs
named. Attach additional sheets of paper as nccessary.

Plai ntit`i"

Name: Annc Clyburn

Street Address: P() Box 197
County, Cily: Chester, Exton

State & Z,ip: PA & 19341
Telephone Number: (610) 812-8496

B. List all det`endants’ names and the address where each defendant may be served l\/lake
sure that thc det`endant(s) listed below are identical to those contained in the caption on
the first page Attach additional sheets of paper as neccssary.

l)el`endant Name: UFCW Local 1776 F ederal Credit Union
Street Address: 3031 Walton Road, Suite 310
County, City: Montgomery, Plymouth I\/Ieeting
State & Zip: PA & 19462
Telephone Number: (610) 941-2604

Defendant Name: UFCW Local 1776
Street Address: 3031 Walton Road, Suite 201
County, City: Montgomery, Plymouth Meeting
State & Zip: PA & 19462
Telephone Number: (610) 940-1776

C. T he address at which l Sought employment or was employed by thc deiendaiit(s) is:

Employer: UFCW Local 1776 F ederal Credit Union
Street Address: 3031 Walton Road, Suite 310
County` City: Montgomery, Plymouth Meeting
Statc & Zip: PA & 19462

Tclephone Number: ('610) 941-2604

lI. Statement of thc Claim

A. The discriminatory conduct of which l complain in this action includes (check only those
lhal apply lo your cose):

_ Fai lure to hire me

X

'l`ermination ot` my employment

*___ Failurc to promote me

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__ F ailure to reasonably accommodate my disability
M_ F ailure to reasonably accommodate my religion
*_ Failure to stop harassment

___ Unequal terms and conditions ofmy employment
X Retaliation

_“ Other ('speei/)`"):

 

N()TE: ()nly those grounds raised in the ehargejiled with the Eqna/ En'zplo'i.'ment Opportanity
C'ommission can l)e Considere¢,l by the_federal district Coztrt.

B. lt is my best recollection that the alleged discriminatory acts occurred or began on or
about: (month) November~ (day) , (year) 2000
C. l believe that the defendant(s) (clieck one):

is still committing these acts against me.
X is not still committing these acts against me.
l). l)efendant(s) discriminated against me based on my (cheek only those that apply and

state the basisjor discrimination for example what is your religion ifreligious
discrimination is alleged):

 

 

race color
religion ___ X gender/sex Female

“___ national origin _ 4

age l\/ly date ofbirth is _ (Give your date othith only i/`_voa are
asserting a claim ofage discri))'zination)

 

E. 'l`he facts of my case are as follow (attaeh additional sheets ofpaper as neeessar).{):

Please find attached a copy of my original gender discrimination complaint filed with the
l)ennsylvania Human Relations Commission and cross-filed with the Equal Employment
Opportunity Commission. Furthermore, l have also enclosed a copy of my amended gender
discrimination complaint as well as a copy of my retaliation complaint which was also cross-filed
with the Equal Employment ()pportunity Commission.

 

 

 

lll.

l).

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N()TE: As additional supportjor theme/s ofyour claim, you may attach to this
complaint a copy o/'your charge filed with the l:`aual Enlployment ()pportunitv
(,'ommi.s'sion, the l’ennsylvania Human Relations (,'ommission, or the Philadelphia
(.`ommission on Human Relations.

Exhaustion of Administrativc Remedies:

lt is my best recollection that l filed a charge with the liqual Emp]oyment ()pportunity
Commission or my Equal Employment ()pportunity counselor regarding the defendant’s
alleged discriminatory conduct on: April 18` 2007.

The Equal Employment ()ppoitunity Commission (check one):

has not issued a Notice of Right to Sue lsetter.
X issued a Notice of Right to Sue Letter, which l received on 2/08/2010.

NOTE: Attach to this complaint a copy ofthe Notice o/`Right to Sue Letter_from the
Equal Employment ()pportunit_\»" Conimission.

()nly plaintiffs alleging age discrimination must answer this question

Since filing my charge of age discrimination with the liqual Employment Opportunity
Commission regarding defendant’s alleged discriminatory conduct (check one):

60 days or more have passed
fewer than 60 days have passed

lt is my best recollection that l filed a charge with the Pennsylvania Human Relations
Commission or the Philadelphia Commission on lluman Relations regarding the
defendant’s alleged discriminatory conduct on: April 18` 2007.

Since filing my charge of discrimination with the Pennsylvania Human Relations
Commission or the Philadelphia Commission on Human Relations regarding thc
def`endant’s alleged discriminatory conduct (check one):

X ()ne year or more has passed
Less than one year has passed

lV. Relief

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WHEREF()RE, Plaintiff` prays that the Court grant such relief as may be appropriate, including
injunctive orders, damages, and costs as well as ('check only those that apply):

Direct the defendant to hire the plaintiff

Direct the defendant to re-employ the plaintiff

Direct the defendant to promote the plaintiff

Direct the defendant to reasonably accommodate the plaintiffs disabilities
Direct the defendant to reasonably accommodate the plaintiffs religion.

Direct the defendant to (speci}fi"_):

 

If available, grant the plaintiff appropriate injunctive relief. lost wages,
liquidated/double damages, front pay, compensatory damages, punitive damages,
prejudgment interest, post-judgment interest, and costs, including reasonable

attorney fees and expert witness fees.

 

Other (:s,t)ectfit):

l declare under penalty of perjury that the foregoing is true and correct

signed this 5‘“ day Oi‘May, 2010.

Signature of Plaintif`f` am p/A[,.__
Address Anne Clyburn v "d

PO Box 197

lixton, PA 19341

 

Telephone number (610) 812-8496
F ax number (if`you have one)

